         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                        No. 1D2023-2092
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MARENDA L. BYRD,

    Appellant,

    v.

LEON COUNTY SCHOOL BOARD,

    Appellee.
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On appeal from the Circuit Court for Leon County.
Angela C. Dempsey, Judge.


                       August 27, 2024

PER CURIAM.

    AFFIRMED.

B.L. THOMAS, NORDBY, and TANENBAUM, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Marenda L. Byrd, pro se, Appellant.

Ben A. Andrews and Stephanie L. Clark, Pennington, P.A.,
Tallahassee, for Appellee.




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